                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                     No. 7:23-CV-897

 CAMP LEJEUNE WATER LITIGATION                  )
                                                )
                PLAINTIFF                       )
                                                )
                v.                              )     NOTICE OF SPECIAL APPEARANCE
                                                )
 UNITED STATES OF AMERICA                       )
                                                )
                 DEFENDANT.                     )


       Please take notice that the undersigned Waymon T. Peer hereby enters a notice of special

appearance as attorney for non-party the National Academy of Sciences in the above-captioned

matter, in association with Local Civil Rule 83.1(d) attorney, Katarina K. Wong.

       I certify that I will submit any document to Local Civil Rule 83.1(d) attorney for review

prior to filing the document with the court.

Respectfully submitted this 17th day of June, 2024.

 /s/ Waymon T. Peer                                     /s/ Katarina K. Wong
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          Case 7:23-cv-00897-RJ Document 240 Filed 06/17/24 Page 1 of 1
